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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                       December 10, 2019

Taylor Hampton Crabtree
North Carolina Department of Justice
114 W EDENTON ST
PO BOX 629
RALEIGH, NC 27602

Appeal Number: 19-14237-CC
Case Style: State of Georgia, et al v. National Wildlife Federation, et al
District Court Docket No: 2:15-cv-00079-LGW-BWC

This Court requires all counsel to file documents electronically using the Electronic Case
Files ("ECF") system, unless exempted for good cause.

Your Application to Appear Pro Hac Vice in this appeal has been GRANTED.

Counsel who wish to participate in this appeal must complete and electronically file an
appearance form within fourteen (14) days (appearance of counsel forms are available on the
court's website). The clerk may not process filings from an attorney until that attorney files an
appearance form. See 11th Cir. R. 46-6.

If you have not yet registered for the Electronic Case Files (ECF) system, information regarding
registration can be found on the court's website under "E-Filing Information (CM/ECF)".

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Carol R. Lewis, CC
Phone #: (404) 335-6179

                                                                     MOT-2 Notice of Court Action
